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    This document has been electronically entered in the records of the United
    States Bankruptcy Court for the Southern District of Ohio.


    IT IS SO ORDERED.



   Dated: November 16, 2018



   ________________________________________________________________
                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

   In Re                               )
                                       )              Case No. 18-12585
   SUZANNE BAIR                        )              Chapter 7
                                       )              Judge Buchanan
                     Debtor            )
                                       )
   ____________________________________)
                                       )
   BARESTONE, LLC, et al.,             )              Adv. Proc. 18-1062
                                       )
                     Plaintiff(s)      )
          v.                           )
                                       )
   SUZANNE BAIR                        )
                                       )
                                       )
                     Defendant(s)      )

             ORDER GOVERNING PRETRIAL AND TRIAL PROCEDURES IN
             ADVERSARY PROCEEDINGS (OR PREHEARING AND HEARING
               PROCEDURES IN CERTAIN CONTESTED MATTERS) AND
                 ORDERING PRELIMINARY PRETRIAL STATEMENT

           This order is intended to familiarize you with the procedures and forms required in
   adversary proceedings and certain contested matters assigned to United States Bankruptcy Judges
   in the Southern District of Ohio. The term attorney, as it is used in this order and the Preliminary
   Pretrial Statement, includes the case attorney and any other attorney designated or authorized to
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   appear in this action as well as any individual or entity appearing pro se. All filings required by
   this order shall be on the forms or exact reproductions of the forms available from the Clerk of the
   Bankruptcy Court in this district or on the Court's website at www.ohsb.uscourts.gov.

                                           I. LOCAL RULES

          The attention of every attorney is directed to the Local Rules for the United States
   Bankruptcy Court for the Southern District of Ohio (LBR), copies of which are available from the
   Clerk of the Bankruptcy Court in this district or on the Court's website at www.ohsb.uscourts.gov.

                           II. PRELIMINARY PRETRIAL STATEMENT

           In order to provide the Court with relevant information concerning the issues in a particular
   proceeding and to expedite the disposition of adversary and contested matters in which an
   evidentiary hearing may be required, the Court, pursuant to the provisions of Rule 7016 of the
   Federal Rules of Bankruptcy Procedure and Rule 16 of the Federal Rules of Civil Procedure,
   hereby orders each party to hold the mandatory Rule 26(f) Fed. R. C. P. conference not later than
   December 21, 2018 and file the Preliminary Pretrial Statement (LBR Form 7016±1-PPS) not later
   than December 21, 2018. Each party shall serve its Preliminary Pretrial Statement on every other
   party to this action. If there are multiple defendants, the plaintiff shall file a Preliminary Pretrial
   Statement as to each defendant unless such separate statements would be identical.

           The Preliminary Pretrial Statement is designed to highlight any procedural issues that
   require resolution, outline an initial discovery schedule and initiate procedures to aid in the
   resolution of this action either by decision of the court or by agreement of the parties. Witness
   Lists and Exhibit Lists are not required at the time a Preliminary Pretrial Statement is filed.

                                  III. PRETRIAL CONFERENCE(S)

          Following a review of the initial pleadings and the Preliminary Pretrial Statements, the
   Court may issue an order setting a pretrial conference.

           At the time of any pretrial conference, in addition to being prepared to discuss the
   information contained in the filed Preliminary Pretrial Statements and the applicable subjects for
   consideration set forth in Bankruptcy Rule 7016(c) and Rule 26(a) and (f) Fed.R.Civ.P., each
   attorney shall report on the settlement efforts required by the Preliminary Pretrial Statement and
   shall have the authority, or be able to receive such authority during the pretrial conference, to offer
   and/or accept a settlement. In cases when a party is a governmental unit or official, authority to
   settle must be available within a reasonably short time after the pretrial conference.
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           Further, each attorney shall be prepared to specifically discuss proposed dates for: (1) the
   filing of all amendments to the pleadings or motions; (2) completion of discovery; (3) the filing of
   stipulations; (4) the exchange and filing of witness lists and information; (5) the exchange and
   filing of exhibits and exhibit lists, including joint exhibits; (6) trial, including the amount of time
   anticipated; (7) the exchange and filing of any trial briefs; and (8) any written status report or
   further pretrial conference. Failure of an attorney to appear at any subsequently scheduled pretrial
   conference or otherwise comply with provisions of this order may result in dismissal of the
   proceeding or matter, a default judgment or such other remedy as may be appropriate. Any attorney
   may request a pretrial conference if one is not ordered by the Court.

                                    IV. COURTROOM CONDUCT

          The following procedures are to be followed in all proceedings in open court:

          (A) At the commencement of the proceeding, each attorney shall stand and state his or her
          name and introduce by name the parties and witnesses present for that attorney's cause.
          Each attorney shall also state that the names of all witnesses and copies of all proposed
          exhibits have been exchanged with all other attorneys; or, shall state the names of all
          witnesses and provide copies to all other attorneys of all proposed exhibits that have not
          been exchanged.

          (B) All persons, whether counsel, parties or witnesses, shall be formally addressed by their
          surnames wherever possible.

          (C) All documentary exhibits shall be prepared for presentation at any proceeding as
          follows: the original exhibit to be introduced in the proceeding and a copy for the witness,
          any other attorney, the examining attorney, the court and the court's law clerk.

                             V. WITNESS LISTS AND EXHIBIT LISTS

           The instructions attached to the Preliminary Pretrial Statement govern the preparation and
   filing of witness and exhibit lists in this case or proceeding.

                                  VI. JURY TRIAL PROCEDURES

          Local Bankruptcy Rule 9015±1 and Bankruptcy Rule 9015 govern the procedural aspects
   connected with jury trial procedures in this court.

          SO ORDERED.

   Copies to:

          Brian R. Redden, Esq.
          Jeffrey M. Nye, Esq.
          Paul T. Saba, Esq.
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                                               United States Bankruptcy Court
                                                 Southern District of Ohio
Barestone, LLC,
         Plaintiff                                                                                Adv. Proc. No. 18-01062-bab
Bair,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0648-1                  User: griffinn                     Page 1 of 1                          Date Rcvd: Nov 19, 2018
                                      Form ID: pdf01                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 21, 2018.
  NO NOTICES MAILED.

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion09.ci.ecf@usdoj.gov Nov 19 2018 19:48:14     Asst US Trustee (Cin),
                 Office of the US Trustee,   36 East Seventh Street,   Suite 2030,   Cincinnati, OH 45202-4457
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 21, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 19, 2018 at the address(es) listed below:
              Brian R Redden    on behalf of Plaintiff   Barestone, LLC bredden@bhmklaw.com,
               agriffin@bhmklaw.com
              Brian R Redden    on behalf of Plaintiff   Kingston Development Group, LLC bredden@bhmklaw.com,
               agriffin@bhmklaw.com
              Jeffrey M. Nye    on behalf of Defendant Suzanne Bair jmn@sspfirm.com
              Paul T Saba    on behalf of Defendant Suzanne Bair pts@sspfirm.com, eak@sspfirm.com
                                                                                             TOTAL: 4
